                            Case 2:09-md-02047-EEF-MBN Document 21750-106 Filed 08/31/18 Page 1 of 1




                          In re: Chinese-Manufatured Drywall Prods. Liab. Litig., MDL No. 2047
                                           Taishan's Document Production:
                                 Pages Produced Prior to and After 30(b)(6) Depositions
                        (CHE Gang) Taken 6/2 - 6/4/2015, (JIA Tongchun) Taken 9/17 - 9/18/2015


                                                                                               10/16/15: 9,573 pages
350,000                                                                                        10/19/15: 11,871 pages
                                                                                               10/19/15: 15,093 pages
                                                                                               10/21/15: 66,066 pages
                                                                                               10/22/15: 196,701 pages
                                                                                               10/27/15: 8,811 pages
300,000
                                                                                               10/28/15:    242 pages

                                                                                               308,357 pages produced
                                                06/19/15: 535 pages
                                                                                               after JIA deposition
250,000                                         07/22/15: 34,888 pages
                                                                                               (86.89%)
                                                08/17/15: 1,814 pages
                                                09/16/15: 332 pages

                                                37,569 pages produced
200,000                                         between CHE deposition
  04/06/15: 2,872 pages
  04/08/15:    84 pages                         and JIA deposition
  04/23/15:     3 pages                         (10.59%)
  05/01/15: 132 pages
150,000
  05/08/15: 4,886 pages
  05/22/15: 1,077 pages

  8,964 pages produced
  prior to CHE deposition
100,000
  (2.53%)



 50,000
                                                   30(b)(6) Deposition                                   30(b)(6) Deposition
                                                      of CHE Gang                                          of JIA Tongchun
                                                    (6/2 - 6/4/2015)                                     (9/17 - 9/18/2015)
      0
                            Prior to 6/2/2015                 Between 6/4/2015 and 9/17/2015                                   Post 9/18/2015
